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 1                       UNITED STATES DISTRICT COURT
 2                        MIDDLE DISTRICT OF FLORIDA

 3   Viral DRM, LLC,
 4                                                  Case No:
                         Plaintiff,
 5

 6          v.

 7   Charles J. Kirk,
 8
                    Defendant.
 9   _______________________________/
10
                                       COMPLAINT
11

12         Plaintiff Viral DRM, LLC (“Plaintiff”), by and through its undersigned
13   counsel, for its Complaint against defendant Charles J. Kirk (“Defendant”) states
14
     and alleges as follows:
15

16                                    INTRODUCTION
17         1.     This action seeks to recover damages for copyright infringement under
18
     the Copyright Act, 17 U.S.C §501.
19

20         2.     Plaintiff owns the rights to a video of a red Chevy pickup truck driving
21   through a tornado in Texas (the “Video”), which Plaintiff licenses for various uses
22
     including online and print publications.
23

24         3.     Upon information and belief, Defendant is a radio talk show host and
25
     the host of The Charlie Kirk Show podcast (the “Podcast”).
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           4.     Upon information and belief, Defendant operates a social media
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 1   account on rumble.com known as The Charlie Kirk Show (the “Account”).
 2
           5.     Defendant, without permission or authorization from Plaintiff, actively
 3

 4   copied and/or displayed the Video on the Account and engaged in this misconduct

 5   knowingly and in violation of the United States copyright laws.
 6
                                           PARTIES
 7

 8         6.     Viral DRM, LLC is an Alabama Limited Liability Company and

 9   maintains its principal place of business in Talladega County, Alabama.
10
           7.     On information and belief, defendant Charles J. Kirk, is an individual
11

12   who is a resident of the State of Florida with a principal address of 775 Longboat
13   Club Road, Longboat Key in Manatee County, Florida.
14
                               JURISDICTION AND VENUE
15

16         8.     This Court has subject matter jurisdiction over the federal copyright
17   infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.
18
            9.    This Court has personal jurisdiction over Defendant because it
19

20   maintains its principal residence in Florida.
21          10.   Venue is proper under 28 U.S.C. §1391(a)(2) because Defendant
22
     resides, does business in, and/or because a substantial part of the events or omissions
23

24   giving rise to the claim occurred in this Judicial District.
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 1                        FACTS COMMON TO ALL CLAIMS
 2
     A.    Plaintiff's Copyright Ownership
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 4         11.    Plaintiff herein creates videos and purchases and owns the rights to

 5   various videos which Plaintiff licenses for various uses including online and print
 6
     publications.
 7

 8         12.    Plaintiff has invested significant time and money in building Plaintiff's

 9   portfolio.
10
           13.    Plaintiff has obtained active and valid copyright registrations from the
11

12   United States Copyright Office (the “USCO”) which cover many of Plaintiff's videos
13   while many others are the subject of pending copyright applications.
14
           14.    Plaintiff's videos are original, creative works in which Plaintiff owns
15

16   protectable copyright interests.
17         15.    On March 21, 2022, Ronald Emfinger authored the Video. For
18
     reference purposes, a copy of a still image from the Video is attached hereto as
19

20   Exhibit 1.
21         16.    In creating the Video, Mr. Emfinger personally selected the subject
22
     matter, timing, lighting, angle, perspective, depth, lens and camera equipment used
23

24   to capture the Video.
25
           17.    Plaintiff subsequently acquired the rights to the Video by way of written
26
     agreement.
27

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 1         18.    Plaintiff acquired the rights to the Video for purposes of commercially
 2
     licensing the Video.
 3

 4         19.    On April 22, 2022, the Video was registered by the USCO under

 5   Registration No. PA 2-354-516.
 6
           20.    Plaintiff commercially licensed the Video to third party media
 7

 8   companies for the purpose of display and/or public distribution.

 9   B.    Defendant's Infringing Activity
10
           21.    Defendant is the owner of the Account and is responsible for its content.
11

12         22.    Defendant is the operator of the Account and is responsible for its
13   content.
14
           23.    The Account is a part of and used to advance Defendant's commercial
15

16   enterprise, including but not limited to, the Podcast.
17         24.    The Account is a key component of Defendant's popular and lucrative
18
     commercial enterprise.
19

20         25.    Defendant uses the Account to promote his Podcast and draw traffic to
21   his website and social media accounts.
22
           26.    On or about March 22, 2022, Defendant displayed the Video on the
23

24   Account     at    URL      https://rumble.com/vy6s5q-tornado-allert-watch-the-red-
25
     truck.html. A copy of a screengrab of the Account including the Video is attached
26
     hereto as Exhibit 2.
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 1         27.    Without permission or authorization from Plaintiff, Defendant
 2
     volitionally copied and/or displayed Plaintiff's copyright protected Video on the
 3

 4   Account.

 5         28.    Plaintiff first observed and actually discovered the Infringement on July
 6
     29, 2022.
 7

 8         29.    On information and belief, the Video was copied and displayed by

 9   Defendant without license or permission, thereby infringing on Plaintiff's copyrights
10
     in and to the Video (hereinafter all of the unauthorized uses set forth above are
11

12   referred to as the “Infringement”).
13         30.    The Infringement includes a URL (“Uniform Resource Locator”) for a
14
     fixed tangible medium of expression that was sufficiently permanent or stable to
15

16   permit it to be communicated for a period of more than a transitory duration and
17   therefore constitutes a specific infringement. 17 U.S.C. §106(5).
18
           31.    The Infringement is an exact copy of the crucial segment of Plaintiff's
19

20   original Video that was directly copied and displayed by Defendant on the Account.
21         32.    On information and belief, Defendant takes an active and pervasive role
22
     in the content posted on the Account, including, but not limited to copying, posting,
23

24   selecting, commenting on and/or displaying images and/or videos including but not
25
     limited to Plaintiff's Video.
26
           33.    On information and belief, the Video was willfully and volitionally
27

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 1   posted to the Account by Defendant.
 2
           34.    On information and belief, Defendant engaged in the Infringement
 3

 4   knowingly and in violation of applicable United States copyright laws.

 5         35.    On information and belief, Defendant has the legal right and ability to
 6
     control and limit the infringing activities on its Account and exercised and/or had
 7

 8   the right and ability to exercise such right.

 9         36.    On information and belief, Defendant monitors the content on its
10
     Account.
11

12         37.    On information and belief, Defendant has received a financial benefit
13   directly attributable to the Infringement.
14
           38.    On information and belief, the Infringement increased traffic to the
15

16   Account as well as to Defendant’s website and other social media accounts and, in
17   turn, caused Defendant to realize an increase its Podcast listeners and revenues.
18
           39.    On information and belief, a large number of people have viewed the
19

20   unlawful copies of the Video on the Account.
21         40.    On information and belief, Defendant at all times had the ability to stop
22
     the reproduction and display of Plaintiff's copyrighted material.
23

24         41.    Defendant's use of the Video harmed the actual market for the Video.
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           42.    Defendant's use of the Video, if widespread, would harm Plaintiff's
26
     potential market for the Video.
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 1         43.     As a result of Defendant's misconduct, Plaintiff has been substantially
 2
     harmed.
 3

 4                                       FIRST COUNT
                   (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
 5

 6         44.     Plaintiff repeats and incorporates by reference the allegations contained

 7   in the preceding paragraphs, as though set forth in full herein.
 8
           45.     The Video is an original, creative work in which Plaintiff owns valid
 9
10   copyrights.

11         46.     The Video is properly registered with the USCO and Plaintiff has
12
     complied with all statutory formalities under the Copyright Act and under
13

14   regulations published by the USCO.
15         47.     Plaintiff has not granted Defendant a license or the right to use the
16
     Video in any manner, nor has Plaintiff assigned any of its exclusive rights in the
17

18   copyright to Defendant.
19         48.     Without permission or authorization from Plaintiff and in willful
20
     violation of Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and
21

22   illegally copied, reproduced, distributed, adapted, and/or publicly displayed works
23   copyrighted by Plaintiff thereby violating one of Plaintiff's exclusive rights in its
24
     copyrights.
25

26         49.     Defendant's reproduction of the Video and display of the Video
27
     constitutes willful copyright infringement.
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 1         50.    On information and belief, Defendant willfully infringed upon
 2
     Plaintiff's copyrighted Video in violation of Title 17 of the U.S. Code, in that
 3

 4   Defendant used, published, communicated, posted, publicized, and otherwise held

 5   out to the public for commercial benefit, Plaintiff's original and unique Video
 6
     without Plaintiff's consent or authority, by using it on the Account.
 7

 8         51.    As a result of Defendant's violations of Title 17 of the U.S. Code,

 9   Plaintiff is entitled to an award of actual damages and disgorgement of all of
10
     Defendant's profits attributable to the infringements as provided by 17 U.S.C. § 504
11

12   in an amount to be proven or, in the alternative, at Plaintiff's election, an award for
13   statutory damages against each Defendant for each infringement pursuant to 17
14
     U.S.C. § 504(c).
15

16         52.    As a result of the Defendant's violations of Title 17 of the U.S. Code,
17   the court in its discretion may allow the recovery of full costs as well as reasonable
18
     attorney's fees and costs pursuant to 17 U.S.C. § 505 from Defendant.
19

20         53.    As a result of Defendant's violations of Title 17 of the U.S. Code,
21   Plaintiff is entitled to injunctive relief to prevent or restrain infringement of his
22
     copyright pursuant to 17 U.S.C. § 502.
23

24                                    JURY DEMAND
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           54.    Plaintiff hereby demands a trial of this action by jury.
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                                  PRAYER FOR RELIEF
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 1         WHEREFORE, Plaintiff respectfully requests judgment as follows:
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           That the Court enters a judgment finding that Defendant has infringed on
 3

 4   Plaintiff's rights to the Video in violation of 17 U.S.C. §501 et seq. and therefore

 5   award damages and monetary relief as follows:
 6
                 a.     finding that Defendant infringed Plaintiff's copyright interest in
 7

 8                      and to the Video by copying and displaying it without a license

 9                      or consent;
10
                 b.     for an award of actual damages and disgorgement of all of
11

12                      Defendant's profits attributable to the infringements as provided
13                      by 17 U.S.C. § 504(b) in an amount to be proven or, in the
14
                        alternative, at Plaintiff's election, an award for statutory damages
15

16                      against each Defendant for each infringement pursuant to 17
17                      U.S.C. § 504(c), whichever is larger;
18
                 c.     for an order pursuant to 17 U.S.C. § 502(a) enjoining Defendant
19

20                      from any infringing use of any of Plaintiff's works;
21               d.     for costs of litigation and reasonable attorney's fees against
22
                        Defendant pursuant to 17 U.S.C. § 505;
23

24               e.     for pre-judgment interest as permitted by law; and
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 1
                 f.   for any other relief the Court deems just and proper.
 2

 3   DATED: April 12, 2023

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 5
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